Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 1 of 23 PageID #: 1



                            UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND
_________________________________
Dwayne Kula, Individually; Dwayne Kula,         :
as Sole Shareholder of Everlite 99 and of DRK   :
Enterprises, LLC; Everlite 99; DRK              :
Enterprises, LLC; and Everlite 99,              :
Derivatively as Shareholder of Every            :
Watt Matters International LLC                  :
                                                :
               Plaintiffs,                      :
                                                :
                                                :        Civil Action No.
        v.                                      :
                                                :
Every Watt Matters, LLC;                       :       DEMAND FOR JURY TRIAL
EWM-LED, LLC                                    :
George Blackstone, ASB Holding Group, LLC       :
Stanley Brettschneider, Andrew                  :
Brettschneider, and Neal Forsthoeffel,          :
                                                :
               Defendants,                      :


                                             PARTIES

1. Every Watt Matter International, LLC (“International”) is a Washington State Limited

   Liability Company involved in the LED lighting business and with a principal place of

   business at 2501 SE Columbia Way Ste 220 Vancouver, WA 98661, Washington

2. Defendant EWM, LLC, (“EWM”) is a Washington Corporation based out of 2501 SE

   Columbia Way Ste 220 Vancouver, WA 98661 and was involved in selling home energy

   efficiency products in the state of California and later converted to selling LED products after

   the California business venture failed.

3. EWM-LED, LLC, (“EWM-LED”) is a new Washington based corporation at 2501 SE

   Columbia Way Ste 220 Vancouver, WA 98661, Washington in the business of selling LED

   products under the website www.everywattmatters.com.



                                                1
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 2 of 23 PageID #: 2



4. Plaintiff Dwayne Kula (“Kula”) is an individual residing in the State of Rhode Island and is

   the sole shareholder of DRK Enterprises, LLC. Kula is also the sole shareholder of Everlite

   99, LLC, which is a member of International.

5. Plaintiff Everlite 99, LLC (“Everlite”) is a New Hampshire LLC at 1 Chestnut Street, 4M,

   Nashua, NH and is a member of International.

6. Plaintiff DRK Enterprises, LLC (“DRK”) is a New Hampshire Corporation at 1 Chestnut

   Street, 4M, Nashua, NH and is an internet-based business selling LED products, with a dba

   of MyLEDLightingGuide.com.

7. Dwayne Kula, Everlite 99, LLC, DRK Enterprises, LLC all individually and derivatively are

   referred to collectively hereafter as “Plaintiff.”

8. Defendant George H. Blackstone (“Blackstone”) is a resident of Clark County, Washington

   State.

9. Defendant ASB HOLDING GROUP LLC (“ASB”) is a limited liability entity located in

   Westchester County, New York.

10. Defendant Stanley Brettschneider Stanley is a member of ASB.

11. Defendant Andrew Brettschneider is a member of ASB.

12. Upon information and belief, Stanley Brettschneider and Andrew Brettschneider are the sole

   members of ASB (referred to collectively as the “Brettschneiders.”)

13. Defendant Neal Forsthoeffel, (“Forsthoeffel”) Chief Operations Officer, International and

   LED, is a resident of the State of Oregon.

14. Kula (via Everlite), Blackstone (via EWM, LLC) and the Brettschneiders (via ASB

   Holdings) make up the membership of International with interests of 40%, 50% and 10%,

   respectively.



                                                  2
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 3 of 23 PageID #: 3



15. Upon information and belief, Blackstone and the Brettschneiders are the sole members of

   EWM-LED.

                                              VENUE

16. Jurisdiction is proper under 28 U.S.C. §§ 1331, 1332, 1367 as the action herein contains

   claims under Federal Law, additionally, for the claims that are state claims diversity is proper

   as the amount in controversy exceeds $75,000.00 and the parties are completely diverse.

17. Rhode Island is a proper venue as it is where tortious injury occurred and other actions took

   place and where Kula operated his business and performed work for the Defendants and this

   action contains derivate claims under 28 U.S. Code § 1401 Jurisdiction the basis for it that

   basically course of dealing and contracts, Conspiracy and tortious conduct of defendants.

                                     FACTUAL ALLEGATIONS

18. In or about March, 2013, Blackstone contacted Kula, represented himself as a successful

   businessman with a track record of starting, building and selling businesses, and proposed

   that he and Kula form a joint venture by which the two would sell LED products via an

   outside sales structure. Kula already had an established internet based LED company, DRK

   Enterprises, LLC, dba Myledlightingguide.com.

19. Kula and Blackstone proceeded to negotiate a Joint Venture Agreement (“JV Agreement”)

   whereby Kula would provide the necessary industry expertise, ground breaking proprietary

   software, supply vendor connections, and assist with closing business for the joint venture;

   and Blackstone would run the day to operations, hire employees, handle finances, and

   otherwise manage the venture.

20. During the joint venture negotiations, Blackstone misrepresented his business success and

   financial position to Kula, including but not limited to declaring he had patented the propane



                                                3
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 4 of 23 PageID #: 4



   grill, professing to have been a “tier one” distributor for General Motors, running a

   successful software development company, failing to disclose a failed real estate venture in

   Mexico and a failed energy management company, EWM, LLC, for which he was indebted

   over a Million Dollars ($1,000,000). Based in large part on these misrepresentations, Kula

   entered into a JV Agreement with Blackstone whereby they would share equally in profits

   and pay their own business expenses until the company was able to reimburse them when

   agreed by both parties.

21. During the joint venture negotiations, Blackstone attempted to get Kula to merge his internet

   business, DRK Enterprises, LLC, with the new joint venture. Kula made it explicitly clear

   that no such merger would occur and that he would continue ownership and operation of this

   successful internet based company independently from the joint venture.

22. Blackstone ran the joint venture out of an office in Washington State, near his residence and

   used his previously existing EWM, LLC bank account and supplies. Kula traveled around the

   country assisting the sales force and providing expertise from his Rhode Island home.

23. During 2013 and 2014, under a “Director Income Sharing Agreement” several individuals

   and business entities were signed on as “Directors” to produce sales of LED products for the

   joint venture for which they would be compensated from profits.

24. ASB Holdings, wholly owned by Stanley and Andrew Brettschneider, joined the joint

   venture as a “Director.”

25. In October Kula was concerned that the company was not making a profit. Blackstone

   convinced Kula that the venture needed an influx of capital to become viable.

26. Upon information and belief, Blackstone had been negotiating a buy in of the business by

   ASB prior to discussing the need for capital with Kula. Kula was not part of this negotiation.



                                                4
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 5 of 23 PageID #: 5



27. In or about November 2014, Blackstone presented to Kula an agreement he had negotiated

   with ASB whereby ASB would pay 2.5 million dollars to become an equal member of the

   joint venture. However, the agreement included a provision that Kula’s internet company

   would become part of the joint venture.

28. Kula once again refused to merge his internet company into the joint venture.

29. In or about December 2014, Blackstone presented a modified agreement whereby ASB

   would contribute up to $750,000 for up to a 10% interest in the venture. Kula agreed to the

   terms and to contribute the 10% ownership interest from his interest in exchange for

   Blackstone’s agreement to cease his attempts to merge DRK Enterprises with the joint

   venture.

30. On or about January 1, 2015, converted their joint venture into a Washington State Limited

   Liability Company, EWM, LLC.

31. At no time was it ever agreed or required that Kula would merge his separate, internet-based,

   LED company, DRK, with International or with any other entity.

32. At no time was it ever agreed or required that Kula would cease to operate his separate,

   internet-based, LED company, DRK. In fact, the International web site and advertising stated

   that Kula owned and operated the successful LED website, MyLEDLightingGuide.com.

33. On or about January 5, 2015, Kula and Blackstone amended the January 1, 2015 Operating

   Agreement to include provisions for ASB’s buy in to the company and included ASB as a

   Class A member with a .45% membership interest having already made a capital contribution

   of $40,000., attached hereto as Exhibit “A.”

34. The January 5, 2015 Amended Operating Agreement was executed by Kula, Blackstone, and

   Stanley and Andrew Brettschneider on behalf of ASB and is attached hereto.



                                                  5
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 6 of 23 PageID #: 6



35. ASB’s contribution of $40,000 to the company prior to the formation of the LLC, evidences

   that dealings between ASB and Blackstone had been previously ongoing without Kula’s

   knowledge.

36. Relevant provisions of the Amended Operating Agreement include the following in Sections

   7 and 9:

       International finances were to be run out of its own bank account and no co-mingling of

       funds was allowed;

       no member was to receive compensation, interest on loans, reimbursement of expenses

       unless and until agreed to by all members;

       members were to receive disbursements of profits when it became possible to do so and

       not before;

       no member was to receive any return of contribution.

37. Unbeknownst to Kula, virtually all funds that were taken in by International were diverted by

   Blackstone to the EWM-LED bank account, still under Blackstone’s sole control or into one

   of two other bank accounts under Blackstone’s sole control.

38. Upon information and belief, Blackstone had International funds deposited directly by wire

   transfer, electronic banking, and/or check.

39. Blackstone, through his COO, Neal Forsthoeffel, on at least one occasion, provided Kula

   with EWM, LLC’s wiring instructions under the pretext that the instructions were for

   International and accepted funds from Kula without disclosing the actual destination.

40. Blackstone accepted funds from ASB as part of the buy-in pursuant to the Amended

   Operating Agreement. Between June 12, 2014 and June 9, 2016, ASB deposited

   approximately $710,000 into International’s bank account only to have said funds be



                                                 6
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 7 of 23 PageID #: 7



   immediately transferred by Blackstone to his own EWM, LLC account and on to his other

   personal accounts.

41. Unbeknownst to Kula, both Blackstone and ASB had been violating the Amended Operating

   Agreement, Section 7 by Blackstone signing and ASB accepting promissory notes from

   International for the above referenced $710,000.

42. Upon information and belief, the above referenced promissory notes were contemplated and

   executed by Blackstone and ASB in order to set up a takeover of the company and oust Kula

   as, later, ASB attempted to collect on those promissory notes and allegedly took control of

   International for defaulting on the fraudulent notes.

43. Blackstone further breached his fiduciary duties of loyalty, and care by recklessly spending

   the funds ASB infused into the company. For example, Blackstone without Kula’s

   knowledge invested approximately $100,000 in a failed grow light development project and

   then continued the project after being confronted by Kula on the unauthorized spending,

   without Kula’s knowledge spent company funds on unnecessary purchases, hired

   employees for his promised rush of business expected from the infusion of capital, fired the

   same employees shortly after,, recklessly purchased $70,000 worth of fraudulent LED tubes

   from an unproven vendor without Kula’s knowledge which were confiscated by U.S.

   Customs Department and destroyed;

44. On October 30, 2015, Blackstone sent an impassioned plea for funds via email. He resent the

   email on November 4, 2015. In the email, Blackstone said that if the shareholders do not

   provide a cash injection, the doors would close. Blackstone attached fraudulent financial

   records to the above referenced e-mail communication which, upon information and belief,

   were knowingly fraudulently produced by International’s COO, Forsthoeffel. Blackstone



                                                7
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 8 of 23 PageID #: 8



   further claimed he had put in Fifty Thousand 00/100 Dollars ($50,000.00), and wanted Kula

   to contribute Forty Thousand 00/100 Dollars ($40,000.00) and Brettschneider to contribute

   Ten Thousand 00/100 Dollars ($10,000.00). Blackstone further stated that he had made

   capital contributions of $313,872.71. These statements were false and along with the

   fraudulent documents were intentionally used to induce Kula and did induce Kula to part

   with further cash.

45. Blackstone through his COO, Forsthoeffel, fraudulently provided Kula with Blackstone’s

   EWM, LLC wiring instructions for the $40,000 instead of those for International’s account.

   Blackstone later admitted by e-mail on November 22,2016 that he had not used the money

   for payroll; he also admitted in the November 22, 2016 communication that he had repaid

   himself sums of money from International in violation of the Operating Agreement.

46. Kula later discovered that in the four months prior to Blackstone’s plea for cash from Kula,

   Blackstone had transferred $210,000 from International to EWM, LLC by electronic

   transfers and further transferred $85,000 of those funds to two other accounts believed to be

   Blackstone’s personal accounts.

47. In late 2015, Kula became concerned that he had received no distributions of profits that

   time, Kula had already spent over $300,000 in conducting business on behalf of both the JV

   and International at his own expense, including but not limited to such activities as: sales

   support, product design, travel to support sales, travel overseas, travel to Washington

   headquarters, providing product to fulfill International sales without reimbursement, and cash

   injections.

48. In late 2015, Kula also became concerned about complaints from employees and from

   customers regarding the pricing and quality of the products as well as Blackstone’s failure to



                                                8
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 9 of 23 PageID #: 9



   take corrective actions where products and service were concerned. Kula discovered that

   Blackstone had been increasing the margins of profit on most of his proposals to the point

   that International was pricing itself out of the market. When Kula confronted Blackstone on

   this, Blackstone refused to adjust the margins.

49. In late 2015, Kula also became aware that Blackstone was surreptitiously using company

   funds to pay for his own expenses in violation of the Operating Agreement.

50. Sometime in 2014, Stanley Brettschneider was informed by an International employee,

   Kendra Paschall, that customers he and she had brought to the table were being sent false and

   fraudulent balance sheets and financial statements created and provided by Blackstone and

   Forsthoeffel. Brettschneider, informed Paschall that he had no issue with the fraudulent data

   as long as he was not required to sign it as director.

51. Kula was informed by Paschall in late 2015 about the falsified financial documents and was

   able to obtain some of said documents. Kula confronted Blackstone about said documents but

   Blackstone denied ever sending a falsified balance sheet or financial information to anyone.

52. Upon information and belief, Blackstone and Forsthoeffel, regularly colluded to make and

   made revisions and amendments to the financial records to serve their purposes, whether to

   lure a new customer or vendor or to hide the financial raid of the company.

53. In or about December, 2015, while working on software that allowed the International portal

   software Kula developed to interface with QuickBooks, Kula discovered significant issues

   and discrepancies with the information in QuickBooks. Forensic accounting showed that

   money was comingled between International and EWM, LLC, that only one set of books was

   used for both companies, that money was regularly transferred out of International’s account

   and into EWM, LLC.



                                                 9
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 10 of 23 PageID #: 10



 54. Over Kula’s objection, Blackstone put International in legal jeopardy by misrepresenting in

    its advertising that the company manufactured its products in its own facilities overseas, that

    only this International manufactured product was being sold by the company, that all the

    product was DLC d under its own name, and that International was capitalized in excess of

    $50 million dollars.

 55. In light of the emerging issues concerning Blackstone’s truthfulness in business, on or about

    February 15th of 2016, Kula resigned as president of International. Later that month, Kula

    demanded to review the company records and was provided with yet another set of un-

    matching financial records.

 56. Blackstone attempted to deprive Kula of his interest in International. On or about July 2016,

    Blackstone provided an unsigned schedule to the Amended Operating Agreement that

    purported to make him a majority shareholder with 55% interest, in a letter to Kula and ASB

    and called a special shareholder meeting to divest Kula of his interest in International. Kula

    retained legal counsel and the matter was dropped. Two months later, by letter dated,

    September 6, 2016, ASB, Stan Brettschneider and Andy Brettschneider, alleging they were

    creditors and ignoring their shareholder status, demanded repayment of the $750,000 they

    had paid to International for their 10% interest. They relied on the promissory notes

    Blackstone had surreptitiously provided them.

 57. In or about September 22, 2016, International corporate attorney, Stephen Bennet, sent a

    letter by United States mail service to Kula claiming that International “is facing a serious

    creditor action from ASB.” Bennet reiterated the fantasy that ASB was a creditor rather than

    are shareholder and had a right to take action against International.




                                                 10
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 11 of 23 PageID #: 11



 58. ASB, through their attorneys, sent Kula and Blackstone documentation to sign their shares in

    and all the assets of International over to ASB to avoid a creditor action AT the same time, in

    the same letter, ASB threatened to pursue unfounded criminal charges against Kula unless he

    signed over the shares.

 59. On or about December 21, 2016, Blackstone signed the documents supplied by ASB and

    encouraged Kula to do the same.

 60. Kula refused to sign his shares over to ASB. In retaliation and to inflict duress, on January 1,

    2017 ASB filed a lawsuit, as creditors, against Kula, DRK Enterprises and Everlite99

    alleging that Kula had verbally promised to merge his successful internet based business with

    International thus inducing ASB to provide the capital funding.

 61. Kula was informed that ASB would settle the case if he signed over his company to ASB.

    Blackstone sent emails at the end of December 2016 that the company was shutting down

    and employees were being laid off in accordance to the ASB Creditor action. However, the

    company was not shut down, and no employee were laid off. Upon information and belief,

    new employees were still being hired in February of 2017 and the company was still

    operating.

 62. Blackstone sent an email on or about March 20th of 2017 stating that the company assets

    were to be sold on March 30th, 2017 in accordance with the creditor demand.

 63. On March 27, 2017 Blackstone registered with the Washington State Secretary of State a

    new company, EWM-LED located in the same Washington offices of International.

 64. In April of 2017, Kula sent Blackstone an email asking for a list of all employees laid off and

    a list of all assets that were sold, to whom, and the company who was contracted to do the

    sale. No response was given.



                                                  11
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 12 of 23 PageID #: 12



 65. Upon information and belief, there is no complaint filed by ASB against Blackstone,

    although it was with him that ASB negotiated the buy in to International and the alleged

    inclusion of Kula'’ internet based company.

 66. Upon information and belief, Blackstone and ASB are together operating EWM-LED, using

    the contacts, software, knowledge that Kula brought to International; they are using the same

    employees, same phone number, same address, and same website as International had.

                                             COUNT I

                         Shareholder Derivate Action Breach of Contract

 67. Plaintiff reasserts Paragraphs 1 through 66 above and restates and incorporates them herein

    by reference.

 68. Pursuant to the operating agreement and shareholder consents, Defendants agreed and

    Plaintiff, in good faith, agreed to engage in business with each other to accomplish their

    business goals in accordance with industry standards.

 69. Defendants by their conduct as described herein breached the contract and breached an

    implied covenant of good faith and fair dealing.

 70. At all times relevant hereto Plaintiff performed his obligations under the contract in good

    faith.

 71. Defendants are liable for breach of contract and for breach of an implied covenant of good

    faith and fair dealing.

 72. As a result of Defendants’ breaches of contract, Plaintiff has suffered damages.




                                                  12
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 13 of 23 PageID #: 13



                                             COUNT II

               Tortious Interference with Contractual Relations and Contracts

 73. Plaintiff reasserts Paragraphs 1 through 72 above and restates and incorporates them herein

    by reference.

 74. The allegations above constitute a cause of action for tortious interference, moreover;

 75. Defendants failing in their attempt to legitimately launch and run a successful company,

    engaged in sabotage by trying to interfere with Kula’s successful DRK Enterprises, LLC,

    using Kula’s good name and reputation to pass off DRK Enterprises, LLC as part of

    International to induce businesses to work with EWM, LLC.

 76. When unsuccessful, Defendants engaged in actions to force Kula out as President of

    International, then engaged in behavior to hide funds and contracts from Kula, and tried to

    take ownership of DRK Enterprises, LLC.

                                              COUNT III

                 Breaches of Implied Covenant of Good Faith and Fair Dealing

 77. Plaintiff reasserts Paragraphs 1 through 76 above and restates and incorporates them herein

    by reference.

 78. It is well established that every contract carries an implied covenant of good faith and fair

    dealing whereby the parties treat each other fairly and act in good faith and no party to the

    contract shall take any action to harm another party’s right under the contract.

 79. Defendants each breached said implied covenant of good faith and fair dealing causing

    damage to Plaintiff.




                                                  13
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 14 of 23 PageID #: 14



                                              COUNT IV

                                     Brach of Fiduciary Duty

 80. Plaintiff reasserts Paragraphs 1 through 79 above and restates and incorporates them herein

    by reference.

 81. Defendants, had a fiduciary relationship with Plaintiff.

 82. It was therefore Defendants’ duty to:

        a) Exercise utmost good faith in their dealings with Plaintiff with due regard for

            Plaintiff’s interests;

        b) Make full and truthful disclosure of all material facts to Plaintiff and not to omit any

            material fact that would be necessary to make the facts disclosed not misleading;

        c) To refrain from abusing such confidence by obtaining any advantage for himself or

            any third party at the expense of Plaintiff;

        d) be loyal to Plaintiff.

 83. Kula relied upon Defendants fulfilling their fiduciary duty when he sent $40,000 pursuant to

    Blackstone’s wiring instructions, expended over $300,000 of his own money to close

    business on behalf of International, gave Defendants access to his private software and

    business contacts, and allowed Blackstone to financially manage the company’s assets.

 84. Defendants breached said fiduciary duty, causing damage to Plaintiff.

 85. Defendants’ actions that breached said fiduciary duty include but are not limited to:

        a) committing larceny as set forth, infra;

        b) committing embezzlement as set forth, infra;

        c) permitting and participating in a hostile and illegal takeover of International;




                                                  14
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 15 of 23 PageID #: 15



        d) failing to ensure the quality of LED products distributed to customers, thus, creating

            potential liability for Plaintiff as part of International;

        e) failing to properly report the financial status of International to Plaintiff, potential and

            current customers, and the taxing authorities, thereby exposing Plaintiff to potential

            liability as a shareholder of International.

                                               COUNT V

                                                 Fraud

 86. Plaintiff reasserts Paragraphs 1 through 85 above and restates and incorporates them herein

    by reference.

 87. Defendants each intentionally defrauded Kula.

 88. Kula relied upon Defendants’ acts, practices, and courses of business that operated as a fraud

    upon him and would not have expended his time and money on the International business

    venture but for those acts, practices, and course of conduct.

 89. Kula was defrauded thereby and Plaintiff suffered damages.

                                              COUNT VI

                                   Fraudulent Misrepresentation

 90. Plaintiff reasserts Paragraphs 1 through 89 above and restates and incorporates them herein

    by reference.

 91. Defendants made intentional misrepresentations to Kula and intentionally omitted material

    information under circumstances where Defendants had a duty to speak.

 92. Kula relied upon Defendants’ misrepresentations and omissions and would not have

    contributed his time, money, products, and services to International but for those

    misrepresentations and omissions.



                                                    15
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 16 of 23 PageID #: 16



 93. Plaintiff suffered damages because of Defendants’ misrepresentations and omissions.

                                            COUNT VII

                                   Negligent Misrepresentation

 94. Plaintiff reasserts Paragraphs 1 through 93 above and restates and incorporates them herein

    by reference.

 95. Defendants made negligent misrepresentations to Kula and negligently omitted information

    necessary to make their representations not misleading, intending that he would rely upon

    them.

 96. Kula relied upon Defendants’ misrepresentations and omissions to his detriment.

 97. As a result of these misrepresentations and omissions Plaintiff suffered damages.

                                           COUNT VIII

                                        Unjust Enrichment

 98. Plaintiff reasserts Paragraphs 1 through 97 above and restates and incorporates them herein

    by reference.

 99. Plaintiff conferred a benefit upon the Defendants.

 100.   Defendants accepted the benefit.

 101.   Defendants accepted the benefit under such circumstances that it would be inequitable for

                    Defendants to retain the benefit without paying the value thereof.

                                            COUNT IX

                                          Civil Conspiracy

 102.   Plaintiff reasserts Paragraphs 1 through 101 above and restates and incorporates them

    herein by reference.




                                                 16
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 17 of 23 PageID #: 17



 103.   Defendants conspired to illegally convert the business known as International and the

    income therewith for their own use and gain to the exclusion of Plaintiff.

 104.   This conspiracy was a combination of two or more persons to commit an unlawful act or

        to perform a lawful act for an unlawful purpose.

 105.   As a result of this conspiracy, Plaintiff was damaged.

                                             COUNT X

 Civil Damages under § 9-1-2 based on violations of §§11-18-1, 11-18-6, 11-18-7, 11-18-8, 11-

                                41-1, 11-41-3, 11-41-4, and/or 11-42-2

 106.   Plaintiff repeats and realleges paragraphs 1 through 105, except that for purposes of this

        Count, all references to “knew or should have known” are deleted and the word “knew’

        substituted therefor.

 107.   Defendants each committed violations of R.I. Gen. Laws §§11-18-1, 11-18-6, 11-18-7,

    11-18-8, 11-41-1, 11-41-3, 11-41-4, and/or 11-42-2. Such violations included:

    a) violation of R.I. Gen. Laws § 11-18-1 by, knowingly giving a document to an agent,

        employee, or servant of Plaintiff in respect of which Plaintiff was interested, which

        contained a statement that was false or erroneous or defective in any important particular

        and which was knowingly intended to mislead Plaintiff;

    b) violation of R.I. Gen. Laws § 11-18-6 by, knowingly making or causing to be made either

        directly or indirectly, or through any agency whatsoever, a false statement in writing,

        with intent that it shall be relied upon, respecting the financial condition, of International,

        for the purpose of procuring in any form whatsoever the payment of cash or the making

        of a loan or credit, for the benefit of themselves;




                                                  17
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 18 of 23 PageID #: 18



   c) violation of R.I. Gen. Laws § 11-18-7 by, knowing that a false statement in writing had

      been made respecting the financial condition of International, procuring, upon the faith

      of the statement, for their benefit, either or any of the things of benefit as provided in R.I.

      Gen. Laws § 11-18-6;

   d) violation of R.I. Gen. Laws § 11-18-8 by , knowing that a statement in writing had been

      made respecting the financial condition of International., representing on a later day,

      either orally or in writing, that the statement previously made, if then again made on that

      day, would be then true, when, in fact, that statement if then made would be false, and

      procure upon the faith of it, for their own benefit, either or any of the things of benefit as

      provided in R.I. Gen. Laws § 11-18-6;

   e) violation of R.I. Gen. Laws § 11-41-4, by obtaining from another designedly, by any

      false pretense(s), any money or other property, with the intent to cheat or defraud;

   f) violation of R.I. Gen. Laws § 11-41-1, by stealing money, goods, and/or chattels from the

      Plaintiff;

   g) violation of R.I. Gen. Laws § 11-41-3, by embezzling and/or fraudulently converting to

      their own use, money that came under their direct care or charge by virtue of their

      employment or their acting as operators or managers for International;

   h) violation of R.I. Gen. Laws § 11-42-2, Extortion and blackmail, by verbally and in

      writing, maliciously threatened to accuse Kula of a crime or offense and by a verbally

      and in writing maliciously threatened injury to Kula’s reputation, property, and/or

      financial condition with the intent to extort Kula’s successful business and/or with the

      intent to compel Kula to act against his will to sign his business over to Defendants.




                                                18
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 19 of 23 PageID #: 19



 108.   To the extent they did not directly violate said statutes, Defendants aided and abetted

        violation of said statutes by the other Defendant(s) and one another, and, therefore, are

        liable as principals pursuant to R.I. Gen. Laws §11-1-3.

 109.   Defendants combined and conspired to violate said statutes, and, therefore, are liable as

        principals pursuant to R.I. Gen. Laws §11-1-6.

 110.   Said Defendants’ violations of R.I. Gen. Laws §11-18-1, 11-18-6, 11-18-7, 11-18-8, 11-

        41-1, 11-41-3, 11-41-4, and/or 11-42-2 constituted commissions of crimes or offenses

        causing injuries for which Defendants have civil liability under R.I. Gen. Laws §9-1-2.

 111.   Plaintiff has been damaged as a result.

                                            COUNT XI

                                  R.I. Gen. Laws §7-15-1 et seq

 112.   Plaintiff repeats and realleges paragraphs 1 through 111, as if set forth fully herein.

 103.   Defendants knowingly received income derived from racketeering activity and used that

        income to acquire an interest in Kula’s business assets.

 114.   “Racketeering activity” under R.I. Gen. Laws § 7-15-1 includes any act involving larceny

        and/or extortion.

 115.   Defendants’ conduct obtaining property and/or money and/or aiding and abetting in

        obtaining property and/or money from Plaintiff under false pretenses constitutes

        racketeering activity under R.I. Gen. Laws § 7-15-2(a).

 116.   Defendants knowingly received income from a racketeering activity and directly or

        indirectly used or invested part of that income or the proceeds of that income in the

        operation of an enterprise, i.e. International. and EWM-LED in violation of R.I. Gen.

 Laws § 7-15-2(a).



                                                  19
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 20 of 23 PageID #: 20



  117. Defendants conspired to commit acts of larceny and extortion to divest Plaintiff of their

       business assets.

   118. Plaintiff was injured in business, income, and assets by reason of said Defendants’

        violations of R.I. Gen. Laws § 7-15-2(a).



                                           COUNT XVI
                     18 SC § 1961 (RICO) damages under 18 USC § 1964(c)
   119. Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 118

        above as if fully stated herein.

   120. Defendants voluntarily and intentionally, with the intent to defraud, devised and/or

        participated in a scheme to defraud Plaintiff by means of false pretenses.

   121.Defendants used interstate wire communications in furtherance of their scheme to

        defraud Plaintiff.

   122.Plaintiff was defrauded as a result of Defendants’ conduct and thereby suffered damages.

   123.Defendants criminal acts as documented above suffice as predicate acts under 18 USC

        §1961.

                                           COUNT XVII

                                    Negligent Misrepresentation

   124.Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 123

        above as if fully stated herein.

   125.The allegations above caused damage to Plaintiff and constitute a cause of action for
        Negligent Misrepresentation.




                                                20
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 21 of 23 PageID #: 21



                                           COUNT XVIII

                                  Intentional Misrepresentation

   126.Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 125

       above as if fully stated herein.

   127.The allegations above caused damage to plaintiff and constitute a cause of action for

       Intentional Misrepresentation.

                                            COUNT XIX

                                           Slander per se

   128. Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 127

       above as if fully stated herein.

   129.The allegations above constitute a cause of action for slander per se.

   130.Upon information and belief, that at all times hereinafter mentioned, Defendant

       maliciously injured Plaintiff’s good name, reputation and business when engaging in

       slander per se.

   131.Upon information and belief, that at all times hereinafter mentioned, Defendants made

       false statements in full knowledge that they were untrue or in reckless disregard of its truth

       or falsity, and for the purpose of injuring Plaintiff’s good name, reputation and business.

                                          COUNT XX
                                     Defamation of Character

   132.Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 131

       above as if fully stated herein.

   133.The allegations above constitute a cause of action for defamation of character.




                                                21
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 22 of 23 PageID #: 22



    134.Upon information and belief, that at all times hereinafter mentioned, Defendants

         proactively and repeatedly committed acts of defamation of character against Plaintiff.

    135.The defamation of character committed by Defendants has caused irreparable financial

         damage and economic loss to Plaintiff and continues to do so to date.

136.Consequently, Plaintiff has been damaged and hereby demands damages in an amount to be

    proven at trial against each of the defendants, individually and severally.


                                              COUNT XXI

                                              Trade Libel

    137.Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 136

         above as if fully stated herein.

    138.The allegations above constitute a cause of action for trade libel.

    139. Upon information and belief, that at all times hereinafter mentioned, Defendants

         maliciously injured Plaintiff’s good name, reputation and business when engaging in trade

         libel.

    140. Consequently, Plaintiff has been damaged and hereby demands damages in an amount to

         be proven at trial against each of the defendants, individually and severally.



        WHEREFORE, Plaintiffs demand judgment against all Defendants in the amount of

 Fifteen Million Dollars ($15,000,000), together with interest, costs of suit, attorney’s fees, and

 punitive damages.



 Dated: June 18, 2017




                                                  22
Case 1:17-cv-00297-JJM-PAS Document 1 Filed 06/18/17 Page 23 of 23 PageID #: 23



                                    Plaintiffs, Individually and Derivatively, Dwayne
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                                      23
